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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
Case No.        CV16-8033 AB (FFMx)                                             Date   July 3, 2018
Title           Nomadix v. Guest-Tek Interactive Entertainment Ltd.




Present: The Honorable       Frederick F. Mumm, United States Magistrate Judge
                    James Munoz                                               CS 07/03/18
                    Deputy Clerk                                         Court Smart / Recorder

            Attorneys Present for Plaintiff:                        Attorneys Present for Defendant:
                     Mark Lezama                                              Steven Rocci
                     Alan Laquer                                             Michael Swope


Proceedings:        DEFENDANT’S MOTION TO MODIFY PROTECTIVE ORDER – 288
                    PLAINTIFF’S EX PARTE APPLICATION TO STRIKE MOTION TO
                    MODIFY PROTECTIVE ORDER - 289


         Case called. Counsel make their appearance. Court hears argument.

      Plaintiff’s ex parte application to strike the motion to vacate the protective order is
denied.

       Defendant’s motion to modify the protective order is granted in part. The Court
limits the conversations the defense will have with Mr. Reed to his recollections of his
communications with Mr. Levy. Mr. Hughes is precluded from attending those meetings
but Nomadix is entitled to have an outside counsel appear at those meetings.

      The meetings between defense counsel and Mr. Reed are not subject to the stay of
discovery.

                                                                                                  :35
                                                                                                  JM



CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
